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                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
                                                               CASE NUMBER:
MILLENIUM, INC.,
W                                         Plaintiff(s)           $721-09050-AB-(AFMx)

SW DISTRIBUTION, INC.,
                                                               MOTION RE: INFORMAL DISCOVERY $0/'&3&/$&
                                              Defendant(s)



                    .agistrate Judge "MFYBOEFS ' .BD,JOOPO IBT TDIFEVMFE BO JOGPSNBM
            UFMFQIPOF DPOGFSFODF PO Wednesday, May 18   BU 3:00pm SFHBSEJOH a
            discovery dispute $BMMJO JOGPSNBUJPO IBT CFFOQSPWJEFEUPUIFQBSUJFTWJBFNBJM




             .":17 
 Dated:                                                               By:
                                                                                      Deputy Clerk




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